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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 CENTRAL DIVISION

UNITED STATES OF AMERICA

v.                                                               Case No. 4:20-cr-00231-3-DPM

BRIDGETT MARIE BEARDEN

                                             ORDER

        Before the Court is Defendant Bridgett Marie Bearden’s Motion requesting that the United

States Marshal Service be directed to serve subpoenas on two witnesses to appear at a hearing

pursuant to the Bail Reform Act.    (Doc. No. 30.)    According to the Motion, Defendant intends

to raise the issue of her “medical needs”; she seeks the testimony of two nurses at the Saline County

Detention Center and Defendant’s medical records from the period of her detention there.      (Id. at

1-2.)   However, the Motion fails to state how the nurses’ testimony and medical records bear on

the issue of whether Defendant poses a risk of flight or danger to the community.     Therefore, the

Motion is DENIED.      Defendant may proffer the information pursuant to the Bail Reform Act.

        SO ORDERED this 2nd day of October 2020.



                                                      ___________________________________
                                                      JOE J. VOLPE
                                                      UNITED STATES MAGISTRATE JUDGE
